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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

     In re:
                                                            Case No.: 19-34574-KRH
     LeClairRyan PLLC,
                                                            Chapter 7
                             Debtor. 1


       NOTICE OF (I) APPLICATION FOR ALLOWANCE OF COMPENSATION AND
             EXPENSE REIMBURSEMENT AND (II) HEARING THEREON

         PLEASE TAKE NOTICE that Foley & Lardner LLP (“Foley”), by and through its
 undersigned counsel, have filed the Amended Final Application of Foley & Lardner LLP, as
 Special Counsel to the Trustee, for Approval and Allowance of Compensation and Reimbursement
 of Expenses Incurred for the Period from January 30, 2020 through March 31, 2021 [Docket No.
 2035] (the “Amended Final Fee Application”) with the Court for the final approval of (a)
 allowing Foley’s hourly fees on a final basis in the aggregate amount of $1,014,659.20 to the extent
 already paid or offset by the Estate; (b) allowing Foley’s contingent fees related to the Prior Settled
 FAO Actions and NFA Actions settled by Foley on a final basis in the aggregate amount of
 $1,087,430.18 to the extent already paid or offset by the Estate; (c) allowing expenses incurred by
 Foley on a final basis covering all matters it handled while acting as special counsel for the Trustee
 in the aggregate amount of $101,549.39 to the extent already paid or offset by the Estate; and (d)
 stating that no further payments are due and owing by the Estate to Foley regardless of the amounts
 approved herein on a final basis.

              UNDER LOCAL BANKRUPTCY RULE 9013-1, UNLESS A WRITTEN
              RESPONSE IN OPPOSITION TO THE AMENDED FINAL FEE


 1
   The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and the
 last four digits of the Debtor’s federal tax identification number are 2451.
     Jonathan L. Hauser (VSB 18688)    Susan Poll Klaessy (VSB No. 87021)       Holland N. O’Neil (Admitted Pro Hac Vice)
     JONATHAN L. HAUSER, ESQ.          Geoffrey S. Goodman                      Steven C. Lockhart (Admitted Pro Hac Vice)
     929 Bobolink Dr.                  (Admitted Pro Hac Vice)                  Robert T. Slovak (Admitted Pro Hac Vice)
     Virginia Beach, VA 23451          FOLEY & LARDNER LLP                      Mark C. Moore (Admitted Pro Hac Vice)
     (757) 639-7768 (telephone)        3000 K Street, NW, Suite 600             Andrew A. Howell (Admitted Pro Hac Vice)
     jhauser929@gmail.com              Washington, DC 20007-5109                Stephanie L. McPhail (Admitted Pro Hac Vice)
                                       (312) 832-4500 (telephone)               Foley & Lardner LLP
                                       (312) 832-4700 (facsimile)               2021 McKinney Avenue, Suite 1600
                                       spollklaessy@foley.com                   Dallas, TX 75201
                                       ggoodman@foley.com                       (214) 999-3000 (telephone)
                                                                                honeil@foley.com
                                                                                slockhart@foley.com
                                                                                rslovak@foley.com
                                                                                mmoore@foley.com
                                                                                ahowell@foley.com
                                                                                smcphail@foley.com
     Counsel to Foley & Lardner LLP

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                   APPLICATION AND SUPPORTING MEMORANDUM ARE FILED WITH
                   THE CLERK OF COURT AND SERVED AS DIRECTED BELOW BY
                   NOVEMBER 21, 2023, THE COURT MAY DEEM ANY OPPOSITION
                   WAIVED AND TREAT THE AMENDED FINAL FEE APPLICATION AS
                   CONCEDED.

                   HEARINGS TO CONSIDER THE RELIEF REQUESTED IN THE
                   AMENDED FINAL FEE APPLICATION ARE SCHEDULED FOR
                   NOVEMBER 28, 2023 AT 11:00 A.M. (PREVAILING EASTERN TIME AT
                   U.S. BANKRUPTCY COURT, U.S. COURTHOUSE, 701 E. BROAD
                   STREET, COURTROOM 5000, RICHMOND, VA 23219.

               PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
        read the Amended Final Fee Application carefully and discuss it with your attorney if you
        have one in this Chapter 7 Case. (If you do not have an attorney, you may wish to consult
        one).

               PLEASE TAKE FURTHER NOTICE on September 4, 2019, the Court entered the
        Order Establishing Certain Notice, Case Management and Administrative Procedures [Docket
        No. 38] (the “Case Management Order”), which approved the Notice, Case Management, and
        Administrative Procedures attached as Exhibit 1 to the Case Management Order (the “Case
        Management Procedures”). The Case Management Procedures, among other things, prescribe
        the manner in which Objections must be filed and served and set forth when certain hearings will
        be conducted. A copy of the Case Management Order may be obtained, free of charge, by written
        to request to jhauser929@gmail.com or, for a fee, at https://ecf.vaeb.uscourts.gov.

               PLEASE TAKE FURTHER NOTICE if you do not want the Court to grant the relief
        sought in the Amended Final Fee Application, or if you want the Court to consider your views on
        the Amended Final Fee Application, then as indicated previously, by November 21, 2023 (the
        “Objection Deadline”), you or your attorney must:

                File with the Court, either electronically or at the address shown below, a written response
        to the Amended Final Fee Application pursuant to Rule 9013-1(H of the Local Rules of the United
        States Bankruptcy Court for the Eastern District of Virginia and the Case Management Procedures.
        If you mail your written response to the Court for filing, you must mail it early enough so the Court
        will receive it on or before the Objection Deadline.

                   Clerk of the Court
                   United States Bankruptcy Court
                   701 East Broad Street, Suite 4000
                   Richmond, VA 23219

                In accordance with the Case Management Procedures, you must also serve a copy of your
        written Objection on the Core Parties, the 2002 List Parties, and any Affected Entity.

               PLEASE TAKE FURTHER NOTICE THAT, if any Objection is timely filed, the Court
        will entertain the Amended Final Fee Application on November 28, 2023, at 11:00 a.m.


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        (prevailing Eastern Time) (or such time thereafter as the matter may be heard) at U.S. Bankruptcy
        Court, U.S. Courthouse, 701 E. Broad Street, Courtroom 5000, Richmond, VA 23219.

                   PLEASE GOVERN YOURSELVES ACCORDINGLY.

        Dated: October 26, 2023                  Respectfully submitted,

                                                 /s/ Jonathan L. Hauser
                                                 Jonathan L. Hauser (VSB 18688)
                                                 JONATHAN L. HAUSER, ESQ.
                                                 929 Bobolink Dr.
                                                 Virginia Beach, VA 23451
                                                 (757) 639-7768 (telephone)
                                                 jhauser929@gmail.com
                                                 - and -
                                                 Susan Poll Klaessy (VSB No. 87021)
                                                 Geoffrey S. Goodman (Admitted Pro Hac Vice)
                                                 FOLEY & LARDNER LLP
                                                 321 North Clark Street, Suite 3000
                                                 Chicago, IL 60654-4762
                                                 (312) 832-4500 (telephone)
                                                 (312) 832-4700 (facsimile)
                                                 spollklaessy@foley.com
                                                 ggoodman@foley.com
                                                 - and -
                                                 Holland N. O’Neil (Admitted Pro Hac Vice)
                                                 Steven C. Lockhart (Admitted Pro Hac Vice)
                                                 Robert T. Slovak (Admitted Pro Hac Vice)
                                                 Mark C. Moore (Admitted Pro Hac Vice)
                                                 Andrew A. Howell (Admitted Pro Hac Vice)
                                                 Stephanie L. McPhail (Admitted Pro Hac Vice)
                                                 FOLEY & LARDNER LLP
                                                 2021 McKinney Avenue, Suite 1600
                                                 Dallas, TX 75201
                                                 (214) 999-3000 (telephone)
                                                 honeil@foley.com
                                                 slockhart@foley.com
                                                 rslovak@foley.com
                                                 mmoore@foley.com
                                                 ahowell@foley.com
                                                 smcphail@foley.com

                                                 Counsel to Foley & Lardner LLP




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                                             Certificate of Service

                Pursuant to the Local Rules of this Court and/or the Case Management Order, I certify that
        on October 26, 2023, a true copy of the foregoing Notice was sent electronically and/or by first-
        class mail to: (a) the Office of the United States Trustee; (b) the Debtor’s 20 Largest Unsecured
        Creditors; (c) all known secured creditors from the Debtor’s Official Form 106D; (d) the Core
        Parties and 2002 List as defined in the Case Management Order; and (e) all parties requesting
        service of pleadings in this Case (as indicated on the Schedule A attached to the Court filed copy
        of this Notice).

                                                     /s/ Jonathan L. Hauser
                                                     Counsel to Foley & Lardner LLP




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                                                            Page White Farrer Limited
    Matrix One Riverfront Plaza LLC
                                                          Bedford House, 21 John Street
        CN 4000 Forsgate Drive                                                                     Office of the United States
                                                          Holborn, London WC1N 2BF
           Cranbury, NJ 08512                                                                    Trustee 701 East Broad Street,
                                                                 United Kingdom
      farias@matrixcompanies.com                                                                Suite 4304 Richmond, VA 23219
                                                          david.roberts@pagewhite.com
   jbombardo@matrixcompanies.com                                                                kathryn.montgomery@usdoj.gov
                                                          james.smith@pagewhite.com
                                                                                                 shannon.pecoraro@usdoj.gov

          Super-Server, LLC
    707 East Main Street, Suite 1425                                                                    Tyler  P.    Brown
      Richmond, Virginia 23219                                 Thomson West-6292                  Hunton Andrews Kurth LLP
       cjohnson@proxios.com                                        P.O. Box 629                      951 East Byrd Street
       kcrowley@clrbfirm.com                               Carol Stream, IL 60197-6292             Richmond, VA 23219
       pbutler@proxios.com                                                                         tpbrown@huntonak.com



                                                                                                     Jason William Harbour
      GLC Business Services, Inc.
                                                      Post Oak Realty Investment Partners, LP     Hunton Andrews Kurth LLP
          28 Prince Street
                                                           13355 Noel Road, 22nd Floor                951 East Byrd Street
        Rochester, NY 14607
                                                                Dallas, TX 75240                      Richmond, VA 23219
        mhayes@glcbs.com
                                                                                                   jharbour@huntonAK.com



  Thomson Reuters Master Data Center                                                               Henry Pollard Long, III
                                                       Poe & Cronk Real Estate Group, Inc.
             P.O. Box 673451                                                                      Hunton Andrews Kurth LLP
                                                         10 S Jefferson Street, Suite 1200
          Detroit, MI 48267-3451                                                                     951 East Byrd Street
                                                               Roanoke, VA 24011
   cristina.romualdez@thomsonreuters.com                                                             Richmond, VA 23219
                                                            slawrence@poecronk.com
                                                                                                    hlong@huntonAK.com


                                                           BPP Lower Office REIT Inc.
                                                                                                    Jennifer Ellen Wuebker
       Carlyle Overlook JV, LLC                            BPP Connecticut Ave LLC –
                                                                                                  Hunton Andrews Kurth LLP
             711 High Street                                    BLDG ID: 26870
                                                                                                     951 East Byrd Street
         Des Moines, IA 50392                                    P.O. Box 209259
                                                                                                     Richmond, VA 23219
       erin.albert@cushwake.com                               Austin, TX 78720-9259
                                                                                                   jwuebker@huntonak.com
                                                       christopher.lyons@transwestern.com


                                                                                                       Douglas M. Foley
  BCal, LLC c/o Beacon Capital Partners                          EYP Realty LLC                    MCGUIREWOODS LLP
        200 State Street, 5th Floor                              P.O. Box 844801                        Gateway Plaza
           Boston, MA 02109                                Los Angeles, CA 90084-4801                800 East Canal Street
accountantmontgomery@avisonyoung.com                     james.ishibashi@brookfield.com            Richmond, Virginia 23219
                                                                                                  dfoley@mcguirewoods.com


                                                                                                       Sarah B. Boehm
     Parmenter Realty Fund III, Inc.                       New Boston Long Wharf, LLC              MCGUIREWOODS LLP
    701 Brickell Avenue, Suite 2020                   c/o The Corporation Trust Company, r/a            Gateway Plaza
           Miami, FL 33131                                      1209 Orange Street                   800 East Canal Street
         nreser@parmco.com                                    Wilmington, DE 19801                Richmond, Virginia 23219
                                                                                                 sboehm@mcguirewoods.com


                                                                                                       Shawn R. Fox
                                                       Iron Mountain Records Management
       Latham & Watkins LLP                                                                       MCGUIREWOODS LLP
                                                                  448 Broadway
         885 Third Avenue                                                                              Gateway Plaza
                                                              Ulster Park, NY 12487
      New York, NY 10022-4834                                                                       800 East Canal Street
                                                          noe.lebeau@ironmountain.com
         eric.pike@lw.com                                                                         Richmond, Virginia 23219
                                                         Bankruptcy2@ironmountain.com
                                                                                                  sfox@mcguirewoods.com

                                                                                                     ULX Partners, LLC
                                                           NetRight Intermediate LLC              100 Broadway, 22nd Floor
         60 State TRS (DE) LLC
                                                                 iManage LLC                      New York, New York 1005
       320 Park Avenue, Floor 17
                                                        540 W. Madison Street, Suite 2400              Nicholas Hinton
          New York, NY 10022
                                                               Chicago, IL 60661                        Daniel E. Reed
    ahillman@oxfordproperties.com
                                                             agreen@clarkhill.com               Nicholas.hinton@Unitedlex.com
                                                                                                   Dan.reed@unitedlex.com

           ConvergeOne, Inc.
                                                                                                   Karen M. Crowley, Esq.
           3344 Highway 149                           Integreon Managed Solutions (ND) Inc.
                                                                                                   Crowley Liberatore P.C.
            Eagan, MN 55121                                   3247 47th Street South
                                                                                                  150 Boush Street, Suite 300
       esalley@convergeone.com                                  Fargo, ND 58104
                                                                                                      Norfolk, VA 23510
    kyle.hosmer@faegredrinker.com                          Derek.drizin@integreon.com
                                                                                                   kcrowley@clrbfirm.com


                                                            SCHEDULE A
     Case 19-34574-KRH                   Doc 2036    Filed 10/26/23 Entered 10/26/23 10:10:30                   Desc Main
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     Michael G. Gallerizzo, Esquire                                                                    David R. Ruby, Esquire
                                                          Parma Richmond, LLC
       Michael D. Nord, Esquire                                                                     William D. Prince IV, Esquire
                                                              c/o Kevin J. Funk
     GEBHARDT & SMITH LLP                                                                            ThompsonMcMullan, P.C.
                                                     Durrette Arkema Gerson & Gill PC
     One South Street, Suite 2200                                                                   100 Shockoe Slip, Third Floor
                                                     1111 East Main Street, 16th Floor
      Baltimore, Maryland 21202                                                                      Richmond, Virginia 23219
                                                         Richmond, Virginia 23219
        mgall@gebsmith.com                                                                               druby@t-mlaw.com
                                                            kfunk@dagglaw.com
        mnord@gebsmith.com                                                                             wprince@t-mlaw.com


          Amy Simon Klug                                      Joseph Corrigan                            JM Partners, LLC
     HOLLAND & KNIGHT LLP                           Iron Mountain Information Mgmt, LLC                 Attn: John Marshall
   1650 Tysons Boulevard, Suite 1700                         One Federal Street                     6800 Paragon Place, Suite 202
          Tysons, VA 22102                                   Boston, MA 02110                        Richmond, VA 23230-1656
        amy.simon@hklaw.com                            Bankruptcy2@ironmountain.com                JMarshall@JMPartnersLLC.com


                                                                                                         Peter D. Bilowz, Esq.
SAUL EWING ARNSTEIN & LEHR LLP                   SAUL EWING ARNSTEIN & LEHR LLP                        Douglas B. Rosner, Esq.
  Maria Ellena Chavez-Ruark, Esquire                     Robert C. Gill, Esquire                     GOULSTON & STORRS PC
    500 East Pratt Street, 9th Floor            1919 Pennsylvania Avenue, N.W., Suite 550                400 Atlantic Avenue
        Baltimore, MD 21202                           Washington, D.C. 20006-3434                      Boston, MA 02110-3333
        maria.ruark@saul.com                              robert.gill@saul.com                       pbilowz@goulstonstorrs.com
                                                                                                     drosner@goulstonstorrs.com
           David G. Barger
         Thomas J. McKee, Jr.                                 Paul A. Driscoll
                                                           Zemanian Law Group                      Robert H. Chappell III, Esquire
        Greenberg Traurig, LLP                                                                           SPOTTS FAIN PC
   1750 Tysons Boulevard, Suite 1000                     223 East City Hall Avenue,
                                                                  Suite 201                       411 East Franklin Street, Suite 600
        McLean, Virginia 22102                                                                       Richmond, Virginia 23219
         bargerd@gtlaw.com                                Norfolk, Virginia 23510
                                                          paul@zemanianlaw.com                        rchappell@spottsfain.com
          mckeet@gtlaw.com


       Jennifer J. West, Esquire                         Neil E. McCullagh, Esquire                  Karl A. Moses, Jr., Esquire
          SPOTTS FAIN PC                                     SPOTTS FAIN PC                              SPOTTS FAIN PC
   411 East Franklin Street, Suite 600                411 East Franklin Street, Suite 600         411 East Franklin Street, Suite 600
      Richmond, Virginia 23219                            Richmond, Virginia 23219                   Richmond, Virginia 23219
        jwest@spottsfain.com                             nmccullagh@spottsfain.com                     kmoses@spottsfain.com



       Michael G. Wilson, Esq.                              Cynthia L. Hegarty                        Shawn C. Whittaker, Esq.
       MICHAEL WILSON PLC                                MORRISON SUND, PLLC                            Whittaker|Myers, PC
            PO Box 6330                               5125 County Road 101, Suite 200               1010 Rockville Pike, Suite 607
        Glen Allen, VA 23058                              Minnetonka, MN 55345                          Rockville, MD 20852
       mike@mgwilsonlaw.com                             chegarty@morrisonsund.com                    Shawn@whittakermyers.com


                                                          Joshua D. Stiff, Esquire
        Nicola G. Suglia, Esquire
                                                         Grayson T. Orsini, Esquire                  Alexander R. Green, Esquire
   Fleischer, Fleischer & Suglia, P.C.
                                                       WOLCOTT RIVERS GATES                              CLARK HILL, PLC
         Four Greentree Centre
                                                        200 Bendix Road, Suite 300             1001 Pennsylvania Ave NW, STE 1300 S
       601 Route 73 N., Suite 305
                                                       Virginia Beach, Virginia 23452                 Washington, D.C. 20004
           Marlton, NJ 08053
                                                             jstiff@wolriv.com                          agreen@clarkhill.com
       consult@fleischerlaw.com
                                                            gorsini@wolriv.com

                                                                 Amy Wiekel
      Bank Direct Capital Finance                                                                         Linda Georgiadis
                                                      Commonwealth of Pennsylvania
            c/o Kevin J. Funk                                                                          c/o Ronald A. Page, Jr.
                                                      Department of Labor and Industry
   Durrette Arkema Gerson & Gill PC                                                                       Ronald Page, PLC
                                                          Collections Support Unit
   1111 East Main Street, 16th Floor                                                                       P.O. Box 73087
                                                         651 Boas Street, Room 925
       Richmond, Virginia 23219                                                                       N. Chesterfield, VA 23235
                                                            Harrisburg, PA 17121
          kfunk@dagglaw.com                                                                             rpage@rpagelaw.com
                                                       Ra-li-ucts-bankrupt@state.pa.us

              Harris County                                   Latonya Mallory                         Lynn L. Tavenner, Trustee
           c/o John P. Dillman                               c/o Robert T. Hall                        c/o Paula S. Beran, Esq.
Linebarger Goggan Blair & Sampson, LLP                       Hall & Sethi, P.L.C                       Tavenner & Beran, PLC
               Po Box 3064                           11260 Roger Bacon Drive, Suite 400               20 N. 8th Street, 2nd Floor
        Houston, TX 77253-3064                               Reston, VA 20190                           Richmond, VA 23219
   houston_bankruptcy@publicans.com                       rthall@hallandsethi.com                      pberan@tb-lawfirm.com

        Wilmington Trust, N.A.                                                              Creative Office Environments of Richmond, LLC
                                                         First Legal Network, LLC
         Kelly Rae Gring, Esq.                                                                        c/o William A. Gray, Esquire
                                                          c/o Ronald A. Page, Jr.
      Tromberg Law Group, LLC                                                                             William Gray, PLLC
                                                             Ronald Page, PLC
      413 Stuart Circle, Suite 314                                                                        2605 Kensington Ave
                                                               P.O. Box 73087
         Richmond, VA 23220                                                                               Richmond, VA 23220
                                                         N. Chesterfield, VA 23235
    ecfva@tromberglawgroup.com                                                                           graybklaw@gmail.com
                                                           rpage@rpagelaw.com
    kgring@tromberglawgroup.com

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                                                            William A. Broscious, Esquire                 J. Scott Sexton, Esquire
             Paul M. Nussbaum, Esq.                       William A. Broscious, Esq., PLC              Andrew M. Bowman, Esquire
     WHITEFORD, TAYLOR & PRESTON LLP                               P.O. Box 71180                              Gentry Locke
               7 Saint Paul Street                             Henrico, Virginia 23255                        P.O. Box 40013
         Baltimore, MD 21202                           wbroscious@brosciouslaw.com                      Roanoke, Virginia 24002
       pnussbaum@wtplaw.com                                                                             sexton@gentrylocke.com
                                                                                                         bowman@gentrylocke.com
        Erika L. Morabito, Esq.
            Quinn Emanuel                                                                                  Dion W. Hayes, Esq.
                                                              Bradford F. Englander
     1300 I Street, N.W., Suite 900                                                                        McGuireWoods LLP
                                                        Whiteford Taylor & Preston, LLP
        Washington, DC 20005                                                                                  Gateway Plaza
                                                        3190 Fairview Park Drive, Suite 800
  erikamorabito@quinnemanuel.com                                                                           800 East Canal Street
                                                               Falls Church, Virginia 22042
                                                                                                        Richmond, VA 23219-3916
                                                               benglander@wtplaw.com
                                                                                                        dhayes@mcquirewoods.com

       Jeffrey M. Orenstein, Member                            Ronald S. Canter, Esq
          Wolff & Orenstein, LLC                                                                       Franklin R. Cragle, III, Esquire
                                                                Bradley Canter, Esq
             Shady Grove Plaza                                                                              Hirschler Fleischer
                                                                 200A Monroe Street, Suite 104
         15245 Shady Grove Road                                  Rockville, MD 20850
                 Suite 465                                                                            2100 East Cary Street Richmond,
                                                                 bcanter@roncanterllc.com                     VA 23223-7078
        Rockville, Maryland 20850                                rcanter@roncanterllc.com
       JOrenstein@wolawgroup.com                                                                         fcragle@hirschlerlaw.com




           Jed Donaldson, Esq.                                 Paul A. Driscoll, Esq.                     Brandon R. Jordan, Esq
              LimNexus LLP                                     Zemanian Law Group                Robertson, Anschutz, Schneid & Crane LLC
   1050 Connecticut Ave. NW, Suite 500                         223 E. City Hall Ave.,                 11900 Parklawn Drive, Suite 310
             Washington, DC                                    Suite 201Norfolk, VA                         Rockville, MD 20852
                  20036                                                23510                                 bjordan@raslg.com
          jed.donaldson@limnex                                paul@zemanianlaw.com
                  us.com


         Richard C. Maxwell, Esq.                            Roy M. Terry, Jr., Esq.
            Woods Rogers PLC                                The Terry Law Firm PLLC                      Lori D. Thompson, Esq.
     10 S. Jefferson Street, Suite 1800                     2711 Buford Rd., Ste 170                    Spilman Thomas & Battle,
Roanoke, VA 24011 rmaxwell@woodsrogers.com                 North Chesterfield, VA 23235                           PLLC
                                                              roymterry@gmail.com                      LThompson@spilmanlaw.com

                                                                 Darek S. Bushnaq
       Robert S. Westermann, Esq.                              Frederick W.H. Carter                         Michael E. Hastings, Esq
       Hirschler Fleischer, P.C.                                   Venable LLP                                 Woods Rogers, PLC
        2100 East Cary Street                               750 E. Pratt Street, Suite 900                  10 S. Jefferson Street, 1800
        Richmond, Virginia 23223                            Baltimore, Maryland 21202                          Roanoke, VA 24011
       rwestermann@hirschlerlaw.com                          dsbushnaq@venable.com                         Mhastings@woodsrogers.com
                                                              fwcarter@venable.com


                                                              Jaime Walker Luse                           Jonathan L. Hauser
                Susan Poll Klaessy                            Tydings & Rosenberg                         JONATHAN L. HAUSER, ESQ.
               Foley & Lardner LLP                            One East Pratt Street,                      929 Bobolink Dr.
 321 N. Clark Street, Suite 3000 Chicago, IL 60654            Suite 901                                   Virginia Beach, VA 23451
             spollklaessy@foley.com                           Baltimore, MD 21202                         jhauser929@gmail.com
                                                              jluse@tydings.com
                                                                                                          A. Lee Hogewood III
       John McJunkin                                         Daniel Carrigan                              K&L Gates LLP
       BAKER DONELSON                                        BAKER DONELSON                               P.O. Box 17047
       901 K Street, NW, Suite 900                           901 K Street, NW, Suite 900                  Raleigh, North Carolina 27619
       Washington, DC 20001                                  Washington, DC 20001                         lee.hogewood@klgates.com
       jmcjunkin@bakerdonelson.com                           dcarrigan@bakerdonelson.com



                                                             Diana Lyn Curtis McGraw                      James C. Cosby
    Warren A. Usatine                                        Fox Rothschild LLP                           O’Hagan Meyer
    25 Main Street                                           2020 K Street, N.W.                          411 E. Franklin, Suite 500
    Hackensack, NJ 07601                                     Suite 500                                    Richmond VA 23219
    wusatine@coleschotz.com                                  Washington, D.C. 20006                       jcosby@ohaganmeyer.com
                                                             DMcGraw@foxrothschild.com

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                                                    Post Oak Realty Investment          Thomson Reuters Master
        Thomson West-6292                                  Partners, LP                         Data Center
            P.O. Box 629                           13355 Noel Road, 22nd Floor              P.O. Box 673451
    Carol Stream, IL 60197-6292                          Dallas, TX 75240              Detroit, MI 48267-3451



      New Boston Long Wharf,                           Mikro Systems, Inc.                ConvergeOne, Inc.
                LLC                                 Julie Melampy, Controller             3344 Highway 149
      c/o The Corporation Trust                   1180 Seminole Trail, Suite 220          Eagan, MN 55121
            Company, r/a                            Charlottesville, VA 22901
         1209 Orange Street
       Wilmington, DE 19801

    Networking Technologies &                     Brittany B. Falabella, Esq.
           Support, Inc.                          Hirschler Fleischer, P.C.
         Bernard Robinson                          2100 East Cary Street
        14421 Justice Road                         Richmond, Virginia 23223
      Midlothian, VA 23113                        bfalabella@hirschlerlaw.com


                                                 Thomas M. Wolf
    Christopher Perkins
                                                 twolf@ohaganmeyer.com
    Eckert Seamans
    919 E. Main St., Suite 1300
    Richmond VA 23219
    cperkins@eckertseamans.com


                                                 Kimberly Gianis
        Bradford Capital                         KBG Consulting LLC
          PO Box 4353                            Kbgconsultingllc@gmail.com
        Clifton, NJ 07012
bbrager@bradfordcapitalmgmt.com


Jacqueline M. Price                           Philip T. "Pete" Evans, Esq.
Hackett Feinberg P.C.                         Holland & Knight
155 Federal Street, 9th Floor                 800 17th Street N.W., Suite 1100
Boston, MA 02110                              Washington, District of Columbia 20006
JMP@bostonbusinesslaw.com                     philip.evans@hklaw.com




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